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FOR THE \eCO,. DISTRICT OF TEXAS 7919 JUN 25. PH I 28
(_ DIVISION AJ
BEPUTY wen aie

Cidel Sa lazeet (DMXoCol™|

Plaintifs Name and 1D Number

Kelle Unik 264 UA TMtharbullek 5° 19CV0124-6

 

Place of Confinement
CASE NO.
(Clerk will assign the number)
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Defendant's Name and Address Captus Trhuideot Ce pace d C

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Defendant's Ss Name and Address
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INSTRUCTIONS - READ CAREFULLY

    

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NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

i. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. [f you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE, ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ONIT.

3. You must file 4 separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of vour claim. Rule 8, Federal Rules of Civil Procedure.

4. When these forms are comp! eted, mall the original and one copy to the clerk of the United States district court
for the appropri district of Texas in the division where one or more named defendants are located. or where the
mcident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (FDCJ-CID). the list labeled as "VENUE LIST™ is posted in vour unit
s indicating the appropriate district court, the division and an address

      
 

 

 

aw library. itis a list of the Texas prison unit
nist of the divisional clerks.

 

 
 

 

 

FILING EBBESNBI AOR Ps ERM Filed 06/25/19 Page 2 of 10 PagelDb 2
1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $406.06.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to procee
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. {f you are an inmate in TDCJ-CID, you can acquire the
application to proceed in formu pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides ~... if a prisoner brings a civil action or files an
filing fee.” See 28 ULS.C,

g fee or an mitial partial

appea’ in forma pauperis, the prisoner shall be required to pay the full amount of a

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§ 1915 _ Thus s. the court is required to assess and, when funds exist, collect. the entire filin

filing fee ¢ a nd monthly installments until the entire amount of the filing fee has been paid ‘b oy the prisoner. If you
submit the application io proceed in forma pauperis, the court will apply 28 USC. § 1915 and, if appropriate

assess and collect the entire filing fee or an initial partial filing tee, then monthly installments from vour inmate trust
account, until the entre $350.00 stauttory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in Jorma pauperis. )

4. If you intend to seek in forma pauperis status, do not send your complaint without an application to proceed

in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting

if to the court.

CHANGE OF ADDRESS

itis your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal

of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I, PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal court relating to yourimprisonment? ‘YE 5S. NO

B. [your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper. giving the same information.)

1. Approximate date of fill ng lawsu it yokawa. (@2002) nein tiie,

2.. Parties to previous lawsuit:

Piaintittts) Fibeloa Lzet

Defendant(s) _fealen Ce. AS, sSip. pe (.
5. Court: Uf federal. name the district: if state, name the county. 1ordh, 2 aD ps
4. Cause numibe rr ankacwoa..
5. Name of judge to whom case was assigned: baltacwrn
6. Disposition: (Was the case dismissed, “appealex i still pending?) | jantacx DYN
7. Approximate date of disposition: , ualnowna ( 2002 2) oo

Rev. 05/78

 

 

 

 

 
 

 

 

HH. RE FSS ENTEES ES ants! 19 Page3ofl0 PagelDS

HI. XHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? X_ ves NO
Attach a cgpy of vour final step of the grievance procedure with the response supplied by the institution.
Copy & alfec Ay onleco ref BNTI-EW- 313B- BQ

TY. PARTIES TO THIS SUIT:

   

   

 

 

 

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Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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defendant #. pba Sidoual fotmloy Unt ov Aa FEN CRA p, bea eo)
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Briefly describe the act(s) or omission(s) of this defendant which you claimed har med you.

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Defendant #4- Ln Vorwn deh) ; bats Le loc. cl | Ade 2. inal. caf f
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Briefly describe the act(s) or om! ‘ssion(s) of this defendant which you claimed the you.
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Defendant #5-

  

 

 

       

 

   

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed vou.

 

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State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You needy e
any legal arguments or cite anv cases or statutes. If you intend to allege anumber of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPLAINT.

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VI RELIEF:
State briefly exactly what you want the court to de for you. Make no legal arguments. Cite no cases or

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VU. GENERAL BACKGROUND INFORM, ATION:

 
   

 

 

 

 

     
  
 

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Statutes.

 

A. State. in complete form, all names you have ever used or been known by including any and all aliases.

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B. List al TDCJ-CID identification numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to (.

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VI. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? 5s YES xX NO

B. If your answer is “yes,” give the following information for ev ery lawsuit in which sanctions were
imposed. (if more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): Nin

Case number: N IF tA a wo cement

 

 

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3. Approximate date sanctions were imposed: _ _N. tA ee
+. Have the sanctions been lifted or otherwise satisfied? N [sn <> YES NO

 

 
 

 

 

 

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D. Ifyouransweris “yes.” give the following information for every lawsuitin which a warning was issued.
(If more than one, use another piece of paper and answer the same questions.)

Court thatissued warning (if federal, give the district and division Nocthennaish.. Lc bboc ( DV.

Case number: ‘S: (2-¢.4—313- BQ ce
3. Approximate date warning was issued: fan -2L* 214

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(Signature of Plaintiff}

 

PLAINTIFF’S DECLARATIONS

1» Tdeclare under penalty of perjury all facts presented inthiscomplaint and attachments thereto are true
and correct.
T understand, if | am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.
J understand | must exhaust all available administrative remedies prior to filing this lawsuit.
J understand | am prohibited from bringing an in forma pauperis lawsuit if | have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless | am under

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imminent danger of serious physical injury.
S. Junderstand even if! am allowed to proceed without prepayment of costs, 1 am responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until! the filing fee is paid.

Signed this QQ i day of Wane. 20 lt.
(Day) (month) (year)

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(Signature of Plainuff}

  

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

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OFFICE USE ONLY
Texas Department of Criminal Justice | crievancem 2 O11 K889¥

STEP 2 ——_ orrenper | eae moa
| _ GRIEVANCE FORM 3 po /,

Offender Name: G A “\ S Li \ al TDCI # LADG Lf Grievance Code: O29
FR —___—

 

Unit: Housing Assignment: 2 > — is X Investigator ID #:
Unit where incident occurred: Errol uf | \ im! + Extension Date:

 

 

 

 

 

You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted, You may not appeal to Step 2 witha Step I that has been returned unprocessed.

 

Give reason for appeal (Be specific). Jam dissatisfied with the response,at Step | because... w ds A y
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Case 5:19-cv-00124-C Document1 Filed 06/25/19 Page 8of10 PagelD 8°

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. Offender Signature: (A Date: Gq 7 l -/ l
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